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                        UNITED STATES DISTRICT COURT
                        WE,STERN DISTRICT OF VIRGINIA
                            BIG STONE GAP DIVISION


T]NITED STATES OF AMERICA

                                                  Case No,

LYNN EDWARD (''PETIE'') BOWEN II :


                                  PLEA AGREEMENT

      I have agreed to enter into a plea agreement with the United States of America,
pursuant to Rule I 1(c)( I )(C) ol the Federal Rules of Criminal Procedure. The terms and
conditions of this agreement are as follows:

A. CHARGE(S) TO WHICH I AM PLEAD!!\G GUIITY AND WAMR OF
   RIGHTS

   l. The    ha   e   and Potential Punishment

       My attomey has informed me of the nature of the charge(s) and the elements of the
charge(s) that must be proved by the United States beyond a reasonable doubt before I
could be found guilty as charged.

       I agree to plead guilty to an Information, which is a charge brought by the United
States Attorney as opposed to one returned by a Grand Jury. I am waiving and giving up
my right to be charged by Indictment and have a Grand Jury vote on my probable guilt.

       I will enter a plea olguilty to Count I of the Information.

       Count I charges me with receiving from another person any firearm in or otherwise
alfecting interstate or foreign commerce, while knowing or having reasonable cause to
believe that such receipt would constitute a felony, in violation of l8 U.S.C. g 933. The
maximum statutory penalty is a fine ol$250,000 andL/or imprisonment for a term of fifteen
years, plus a term of supervised release.




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        I understand restitution may be ordered. my assets may be subject to forfeiture. and
fees may be imposed to pay for incarceration, supervised release. and costs olprosecution.
In addition. a $100 special assessment, pursuant to l8 U.S.C. $ 3013, will be imposed per
lelony count ofconviction. I further understand my supervised release may be revoked if
I violate its terms and conditions. I understand a violation of supervised release increases
the possible period of incarceration.

       I am pleading guilty as described above because I am in fact guilty and because I
believe it is in my best interest to do so and not because ofany threats or promises not set
lorth in this agreement.

   2. Waiver of Constitutional Rishts Upon a Plea of Guiltv
       I acknowledge I have had all of my rights explained to me and I expressly recognize
I have the following constitutional rights and, by voluntarily pleading guilty, I knowingly
waive and give up these valuable constitutional rights:

       a. The right to plead not guilty and persist in that plea;
       b. The right to a speedy and public jury trial;
       c. The right to assistance of counsel at that trial and in any subsequent appeal;
       d. The right to remain silent at trial;
       e. The right to testily at trial:
       f. The right to confiont and cross-examine witnesses called by the govemment;
       g. The right to present evidence and witnesses in my own behalf;
       h. The right to compulsory process ol the court:
       i. The right to compel the attendance ofwitnesses at trial;
       j. The right to be presumed innocentt
       k. The right to a unanimous guilty verdict; and
       l. The right to appeal a guilty verdict.
   3. Stioulation Resardins and Dismissal of Supersedins Indictment in Case No.
       2:22CR10

      If I comply with my obligations under the plea agreement, the United States will
move. at sentencing, that the Superseding Indictment in Case No. 2:22CRl0 will be
dismissed. I stipulate and agree the United States had probable cause to bring the count in
the Superseding Indictment, this charge was not frivolous, vexation or in bad faith. and I
am not a "prevailing parry" with regard to this charge. I further waive any claim lor
attorney's fees or other litigation expenses arising out of the investigation or prosecution



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olCase No. 2:22CR10.

        Further. pursuant to U.S.S.G. {i I B I .2(c). I stipulate and agree that I committed the
oflense charged in the Superseding Indictment in Case No. 2:22CR10. Specifically. I
stipulate and agree that on or about June 16,2022,I knew I had been previously convicted
of a crime punishable by imprisonment lbr a term exceeding one year. and I knowingly
possessed a firearm (a Smith & Wesson. Model 60. .38 caliber revolver). which was in and
atlecting commerce. I also stipulate and agree, pursuant to U.S.S.G. $$ 1B I .2(c). that
       I
when committed the olfense charged in the Superseding Indictment in Case No.
2:22CR10. I had the three previous convictions tbr serious drug olfenses committed on
occasions dift'erent lrom one another listed in the Superseding Indictment.

B. SENTENCING PROVISIONS

   1. General Matters
       Pursuant to Fed. R. Crim. P. ll(c)(lXc), the United States and I agree I shall be
sentenced to a period of incarceration within the range of 108 months to 156 months. The
parties agree this is a reasonable sentence considering all the facts and circumstances ol
this case. I understand the Court must sentence me within this range or reject the plea
agreement. Il. and only if, the Court rejects the plea agreement, I will be given an
opportunity to withdraw my guilty plea. The United States and I agree all other sentencing
matters, including, but not limited to, supen'ised release. fines, and restitution, are lett to
the Court's discretion. Because the parties have stipulated the agreed to sentence of
imprisonment is reasonable regardless of the guidelines calculations, I waive any right I
may have to any future reduction in sentence based on a change in the sentencing
guidelines.

       I understand I will have an opportunity to review a copy of my presentence report
in advance olmy sentencing hearing and may file objections. as appropriate. I will have
an opportunity at my sentencing hearing to present evidence. bring witnesses. cross-
examine any witnesses the govemment calls to testify. and argue to the Court what an
appropriate sentence should be within the confines ofthe terms olthis agreement.

       I understand I will not be eligible for parole during any term ol imprisonment
imposed.

   2. SentencinsGuidelines



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     I stipulate and agree that all matters pertaining to any of the counts ofthe charging
document(s). including any dismissed counts. are relevant conduct for purposes of
sentencing.

       The parties agree the 2023 edition of the United States Sentencing Guidelines
Manual applies to any guidelines calculation made pertaining to my offense(s) unless
Congress takes action to prevent the adoption of a 2023 edition in which case the 2021
edition ol the United States Sentencing Guidelines Manual applies to any guidelines
calculation made pertaining to my oflfense(s). I stipulate that the following guideline
section(s) are applicable to my conduct:

 481.4 (and lBl.2(c))          JJ    Armed career criminal designation

      The United States stipulates that the guideline section(s) set forth in this section
should apply to my conduct.

        I understand guideline sections may be applicable to my case and the United States
and I will be free to argue whether these sections should or should not apply; to the extent
the arguments are not inconsistent with the stipulations. recommendations and terms set
forth in this plea agreement.

       I agree to accept responsibility lor my conduct. If I comply with my obligations
under this plea agreement and accept responsibility for my conduct. the United States will
recommend the Court grant me a two-level reduction in my offense level. pursuant to
U.S.S.G. $ 3E1.1(a) and. ilapplicable, at sentencing, will move that I receive a one-level
reduction in my offense level, pursuant to U.S.S.G. $ 381.1(b). for purposes ol any
guidelines calculation. However. I stipulate that il I lail to accept responsibility for my
conduct or fail to comply with any provision of this plea agreement, I should not receive
credit for acceptance of responsibility. ln addition, I understand and agree the United
States will have a continuing objection to me receiving credit for acceptance ol
responsibilitl until I have testitled truthfully at my sentencing hearing, if called upon to
testify. I agree the United States will not be required to make any other notice of its
objection on this basis.

   3. Substantial Assistance
       I understand the United States retains all of its rights pursuant to Fed. R. Crim. P.
35(b). U.S.S.G. $5Kl.l and 18 U.S.C. g 3553(e). I understand even ilI lully cooperate
with law enforcement. the United States is under no obligation to make a motion lor the


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reduction of my sentence. I understand if the United States makes a motion for a reduction
in my sentence, the Court, after hearing the evidence. will determine how much of a
departure. if any, I should be given. THIS PROVISION IS DESIGNED TO PROTECT
THE UNITED STATES AND IS INCLUDED IN PLEA AGREEMENTS IN THE
WESTERN DISTRICT           OF     VIRGINIA EVEN IF             ADEFENDANT IS NOT
COOPERATING.

   ,4. Monetarv Oblieations

       a.S ecl               n      Fines and Restitution

       I understand persons convicted of crimes are required to pay a mandatory
assessment of $100.00 per lelony count of conviction. I agree I will submit to the U.S.
Clerk's Office. a certified check. money order, or attomey's trust check, made payable to
the "Clerk, U.S. District Court" for the total amount due for mandatory assessments prior
to entering my plea of guilty.

         I agree to pay restitution for the entire scope ofmy criminal conduct, including, but
not limited to, all matters included as relevant conduct. [n addition, I agree to pay any
restitution required by law, including, but not limited to. amounts due pursuant to l8 USC
$$ 2259, 3663. andior 3663A. I understand and agree a requirement I pay restitution for
all of the above-stated matters will be imposed upon me as part of any final judgment in
this matter.

       I further agree to make good faith efforts toward payment of all mandatory
assessments, restitution and fines. with whatever means I have at my disposal. I agree
lailure to do so will constitute a violation of this agreement. I will execute any documents
necessary to release the funds I have in any repository. bank. investment, other financial
institution, or any other location in order to make partial or total payment toward the
mandatory assessments, restitution and fines imposed in my case.

       I fully understand restitution and lorfeiture are separate financial obligations which
may be imposed upon a criminal defendant. I further understand there is a process within
the Department of Justice whereby, in certain circumstances, forfeited funds may be
applied to restitution obligations. I understand no one has made any promises to me that
such a process will result in a decrease in my restitution obligations in this case.

       I understand and agree, pursuant to 18 U.S.C. gg 3613 and 3664(m). whatever
monetary penalties are imposed by the Court will be (i) due immediately and subject to



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 immediate enfbrcement by the United States as provided lor by I 8 U.S.C. {i 3613. and (ii)
 submitted to the Treasury Offset Program so that any federal payment or transler of
retumed property to the defendant may be offset and applied to federal debts but will not
atlect the periodic payment schedule. I further understand ifthe Court imposes a schedule
ol payments. that schedule is only a minimum schedule ol payments and not the only
method. nor a limitation on the methods, available to the United States to enforce the
judgment.

       I agree to grant the United States a wage assignment. liquidate assets. or complete
any other tasks which will result in immediate payment in full. or payment in the shortest
time in which full payment can be reasonably made as required under l8 U.S.C. $ 3572(d).

       I expressly authorize the United States Attomey's Office to obtain a credit report on
me in order to evaluate my ability to satisfy any financial obligation imposed by the Court.

         I agree the following provisions. or words of similar effect, should be included as
conditions of probation and/or supervised release: (l) "The delendant shall notify the
Financial Litigation Unit, United States Attorney's Office. in writing, of any interest in
property obtained, directly or indirectly, including any interest obtained under any other
name, or entity. including a trust, partnership or corporation after the execution of this
agreement until all fines, restitution. money judgments and monetary assessments are paid
in full" and (2) "The Defendant shall notify the Financial Litigation Unit, United States
Attomey's Office, in writing, at least 30 days prior to transferring any interest in property
owned directly or indirectly by Defendant. including any interest held or owned under any
other name or entity, including trusts, partnership and/or corporations until all fines,
restitution, money judgments and monetary assessments are paid in full."

        The parties will also jointly recommend that as a condition of probation or
supervised release, Defendant will notify the Financial Litigation Unit, United States
Attomey's Office, belore Def'endant transf'ers any interest in property owned directly or
indirectly by Defendant, including any interest held or owned under any other name or
entity. including trusts, partnership and/or corporations. See l8 U.S.C. $ 366a(k). (n).

      Regardless olwhether or not the Court specifically directs participation or imposes
a schedule of payments. I agree to tully participate in inmate employment under any
available or recommended programs operated by the Bureau ofPrisons.

       I agree any payments made by me shall be applied fully to the non-joint and several
portion of my outstanding restitution balance until the non-joint and several portion of



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restitution is paid in full, unless the Court determines that to do so would cause a hardship
to a victim of the offense(s).

       b. Dutv to Make Financial f)isclosu res
       I understand in this case there is a possibility substantial fines and/or restitution may
be imposed. In order to assist the United States as to any recommendation and in any
necessary collection of those sums. I agree, if requested by the United States, to provide a
complete and truthlul financial statement to the United States Attomey's Office, within 30
days of the request or 3 days prior to sentencing, whichever is earlier, detailing all income,
expenditures, assets, liabilities, gifts and conveyances by mysell my spouse and my
dependent children and any corporation, partnership or other entity in which I hold or have
held an interest, for the period starting on January lst of the year prior to the year my
offense began and continuing through the date of the statement. This financial statement
shall be submitted in a form acceptable to the United States Attomey's oflfice.

      From the time of the signing of this agreement or the date I sign the financial
statement, whichever is earlier, I agree not to convey anything ol value to any person
without the authorization of the United States Attomey's Office.



       I understand:

       l. as part olthe judgment in this case I will be ordered to pay one or more monetary
          obligations;
       2. payment should be made as ordered by the Court;
       3. I must mail payments, by cashier's check or money order, payable to the "Clerk,
          U.S. District Court" to: 210 Franklin Road, S.W., Suite 540, Roanoke, Virginia
          2401l; and include my name and court number on the check or money order;
       4. interest (unless waived by the Court) and penalties must be imposed for late or
          missed payments;
       5. the United States may file liens onmy real and personal property thatwill remain
          in place until monetary obligations are paid in full, or until liens expire (the later
          of 20 years lrom date of sentencing or release from incarceration):
       6. ilI retain counsel to represent me regarding the United States' efforts to collect
          any ol my monetary obligations, I will immediately notify the United Stares
          Attomey's Office, ATTN: Financial Litigation Unit, P.O. Box 1709, Roanoke,
          Virginia 24008- 1709, in writing. of the fact of my legal representation; and



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       7. I. or my attomey if an attorney will represent me regarding collection ol
           monetary obligations, can contact the U.S. Attorne)''s Office's Financial
           Litigation Unit at 5401857-2259.

C. FORFEITURE

        I agree to the forfeiture ofthe assets set forth in this section on the grounds set forth
in the Order ol Forfeiture. I agree this Order ol Forfeiture shall be entered by the Court
and shall be final at the time I enter my plea. To the extent necessary, I waive notice of
forfeiture {rs to any asset I have agreed to lorfeit and waive oral pronouncement at
sentencing.

       The assets to be forf'eited are as lbllows:

               l. Smith & Wesson, Model 60, .38 Caliber Revolver SN: R99{28
         I agree to cooperate lully in the lorfeiture ol the property to be forfeited. If
applicable. I agree to withdraw any existing claims and/or agree not to file any claims in
any administrative or civil forfeiture proceeding relating to assets seized as part of this
                                                           I
investigation and not otherwise named herein. agree to execute all documents,
stipulations, consentjudgments, court orders, bills ofsale, deeds, affidavits oltitle, and the
like. which are reasonably necessary to pass clear title to the United States or otherwise
effectuate forfeiture of the property. I further agree to fully cooperate and testifu truthfully
on behalf of the United States in any legal action necessary to perfect the United States'
interest, including but not limited to any ancillary hearing in this criminal action or in any
civil litigation.

       I lurther agree to assist in identi$ing, locating. retuming, and forfeiting all
fbrfeitable assets, including the known assets olother persons.

        I further agree that the lorfeiture provisions of this plea agreement are intended to.
and  will, survive me, notwithstanding the abatement olany underlying criminal conviction
after the execution ofthis agreement. The forfeitability ofany particular property pursuant
to this agreement shall be determined as if I had survived, and that determination shall be
binding upon my heirs, successors and assigns until the agreed forfeiture, including any
agreed money judgment amount. is collected in full. To the extent that forfeiture pursuant
to this agreement requires me to disgorge wrongfully obtained criminal proceeds, I agree
that the forfeiture is primarily remedial in nature.




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        I understand and agree that fbrfeiture of this property is proportionate to the degree
and nature of the offense committed by me. I freely and knowingly waive all constitutional
and statutory challenges in any manner (including direct appeal. habeas corpus. or any
other means) to any forfeiture carried out in accordance with this Plea Agreement on any
grounds. including that the forleiture constitutes an excessive line or punishment. I lurther
understand and agree this forfeiture is separate and distinct from. and is not in the nature
of, or in lieu of, any penalty that may be imposed by the Court.

       I understand and agree that any monetary sum(s) the United States has agreed to
release will be less any debt owed to the United States. any agency of the United States. or
any other debt in which the United States is authorized to collect.

      I hereby release and forever discharge the United States, its officers. agents, servants
and employees, its heirs, successors, or assigns. from any and all actions, causes of action,
suits. proceedings, debts. dues. contracts. judgments, damages. claims. and/or demands
whatsoever in law or equity which I ever had. now have, or may have in the future in
connection with the seizure, detention and forfeiture ofthe described assets.

D. ADDITIONAL MATTERS

    l. Waiver of Ri ht to Aooeal
       Knowing that I have a right of direct appeal of my sentence under l8 U.S.C. $
3742(a) and the grounds listed therein. I expressly waive the right to appeal my sentence
on those grounds or on any ground. In addition. I hereby waive my right of appeal as to
any and all other issues in this matter and agree I will not flle a notice ol appeal. I am
knowingly and voluntarily waiving any right to appeal. By signing this agreement. I am
explicitly and irrevocably directing my attorney not to file a notice of appeal.
Notwithslanding any other language lo the contrary, I am not hraiving my right lo appeal
or lo have my atlorney Jile o notice of appeal, as lo an! issue which cannot be waived, by
/ap. I understand the United States expressly reserves all ol its rights to appeal. I agree
and understand if I file any court document (except for an appeal based on an issue
that cannot be waived, by law, or a collateral attack based on ineffective assistance of
counsel) seeking to disturb, in any way, any order imposed in my case such action
shall constitute a failure to comply with a provision of this agreement.

   2. Waiver of Risht to Collaterallv Attack
       I waive any right I may have to collaterally attack, in any future proceeding, any


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order issued in this matter. unless such attack is based on ineflective assistance olcounsel.
and agree I will not file any document which seeks to disturb any such order. unless such
filing is based on ineffective assistance olcounsel. I agree and understand that if I file
any court document (except for an appeal based on an issue not otherwise waived in
this agreement; an appeal based on an issue that cannot be waived, by law; or a
collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
way, any order imposed in my case, such action shall constitute a failure to comply
with a provision of this agreement.

   3. lnformation Access Waiver
       I knowingly and voluntarily agree to waive all rights, whether asserted directly or
by a representative, to request or receive from any department or agency of the United
States any records pertaining to the investigation or prosecution of this case, including
without limitation any records that may be sought under the Freedom ol lnformation Act.
5 U.S.C. $552. or the Privacy Act of 1974. 5 U.S.C. $552a.

   .1. Waiver of Witness Fee

       I agree to waive all rights, claims or interest in any witness fee I may be eligible to
receive pursuant to 28 U.S.C. $ 1821, for my appearance at any Grand Jury, witness
conference or court proceeding.

   5. Abandonmcnt of Seized ltems
        By signing this plea agreement, I hereby abandon my interest in. and consent to the
oftlcial use, destruction or other disposition of each item obtained by any law enfbrcement
agency during the course ofthe investigation. unless such item is specifically provided for
in another provision of this plea agreement. I iurther waive any and all notice of any
proceeding to implement the oflicial use, destruction, abandonment, or other disposition ol
such items.

   6. Deportation
       I understand   ill am not a citizen olthe United States, or ifl am a naturalized citizen.
pleading guilty may have consequences with respect to my immigration status including,
but not limited to, deportation from the United States, denial of United States citizenship,
denial of admission to the united States in the future, or denaturalization. I expressly
recognize under federal law, conviction lor a broad range of crimes can lead to adverse



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immigration consequences including, but not limited to, automatic removal from the
United States, and that no one, including my attomey or the Court. can predict with
cerlainty the eft'ect ol a conviction on my immigration status. I am not relying on any
promise or belief about the immigration consequences of pleading guilty. I want to plead
guilty regardless olany potential immigration consequences.

   7. Denial of Federal Benefits
        At the discretion ofthe court. I understand I may also be denied any or all lederal
benefits, as that term is defined in 21 U.S.C. $ 862. (a) fbr up to five years if this is my first
conviction of a f'ederal or state ofll-ense consisting of the distribution of controlled
substances. or up to one year if this is my first conviction of a federal or state offense
involving the possession ol a controlled substance; or (b) for up to ten years if this is my
second conviction of a federal or state oflense consisting of the distribution of controlled
subslances, or up to five years if this is my second or more conviction of a lederal or state
oflense involving the possession ol a controlled substance. tf this is my third or more
conviction of a lederal or state olfense consisting of the distribution of controlled
substances, I understand I could be pernanently ineligible for all lederal benefits. as that
term is defined in 21 U.S.C. $ 862(d).

   8. Admissibilitv of Statements
       I understand any statements I make (including this plea agreement, and my
admission ofguilt) during or in preparation for any guilty plea hearing, sentencing hearing,
or other hearing and any statements I make or have made to law enlorcement agents, in
any setting (including during a proffer), may be used against me in this or any other
proceeding. I knowingly waive any right I may have under the Constitution, any statute,
rule or other source of law to have such statements. or evidence derived from such
statements, suppressed or excluded from being admitted into evidence and stipulate that
such statements can be admitted into evidence.

   9. AdditionalOblieations
       I agree not to commit any of the lollowing acts:

           . attempt to withdraw my guilty plea, unless the Court rejects the plea
               agreement;
           . deny I committed any crime to which I have pled guilty;
           o make or adopt any arguments or objections to the presentence report that are

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               inconsistent with this plea agreement;
           o   obstruct justice;
           .   fail to comply with any provision of this plea agreement;
           o   commit any other crime;
           o   make a false statement; or
           o   fail to enter my plea of guilty when scheduled to do so, unless a continuance
               is agreed to by the United States Attomey's Office and granted by the Court.

E. REMEDIES AVAILABLE TO THE UNITED STATES

       I hereby stipulate and agree that the United States Attorney's office may, at its
election, pursue any or all of the following remedies il I fail to comply with any provision
oithis agreement or if the Court rejects this plea agreement: (a) declare this plea agreement
void: (b) ret'use to dismiss any charges; (c) reinstate any charges dismissed or as to which
I pled guilty to a lesser included offense; (d) file new charges concerning the matters
involved in the instant investigation; (e) withdraw any substantial assistance motion made.
regardless olwhether substantial assistance has been performed; (t) refuse to abide by any
provision. stipulations, and/or recommendations contained in this plea agreement; or (g)
take any other action provided ior under this agreement or by statute, regulation or court
rule. I hereby waive any double jeopardy, speedy trial. or statute ol limitations defense I
may have as to any reinstated. newly-filed. or non-dismissed charges described in this
paragraph. I agree the provisions olthis section are contractual obligations between the
United States and me that are severable lrom the plea agreement and survive any Court's
rejection of the plea agreement.

        In addition, I agree if', lor any reason, my conviction is set aside, or I fail to comply
with any obligation under the plea agreement, the United States ma1' file, by indictment or
information, any charges against me which were filed and/or could have been filed
concerning the matters involved in the instant investigation. I hereby waive my right under
Federal Rule olCriminal Procedure 7 to be proceeded against by indictment and consent
to the filing ofan inlormation against me concerning any such charges. I also hereby waive
any statute of limitations delense as to any such charges.

       The remedies set lorth above are cumulative and not mutually exclusive. The
United States' election of any of these remedies, other than declaring this plea agreement
void, does not. in any way, terminate my obligation to comply with the terms of the plea
agreement. The use of "il' in this section does not mean "if,, and only if."

F. GENERAL PROVISIONS


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   l. Limitation of Asreement
        This agreement only binds the United States Attorney's Office tbr the Western
District ol Virginia. It does not bind any state or local prosecutor" other United States
Attorney's Ofllce or other office or agency of the United States Govemment. including.
but not limited to. the Tax Division of the United States Department of Justice. or the
Intemal Revenue Service of the United States Department of the Treasury. These
individuals and agencies remain fiee to prosecute me lor any offense(s) committed within
their respective jurisdictions.

   2. f,ffect of Mv Sisnature
       I understand my signature on this agreement constitutes a binding ofler by me to
enter into this agreement. I understand the United States has not accepted my offer until it
signs the agreement.

   3. Effective Re resentation
        I have discussed the terms ofthe loregoing plea agreement and all matters pertaining
to the charges against me with my attorney and am fully satisfied with my attorney and my
attomey's advice. At this time, I have no dissatisf'action or complaint with my attorney's
representation. I agree to make known to the Court no later than at the time of sentencing
any dissatisfaction or complaint I may have with my attorney's representation.

   4. Misconduct
       If I have any inlormation conceming any conduct of any government attomey,
agent, employee, or contractor which could be construed as misconduct or an ethical, civil,
or criminal violation, I agree to make such conduct known to the United States Aftomey's
Office and the Court, in writing, as soon as possible, but no later than my sentencing
hearing.

   5. Final Matters
       I understand a thorough presentence investigation will be conducted and sentencing
recommendations independent of the United States Attomey's Office will be made by the
presentence preparer, which the Court may adopt or take into consideration. I understand
any calculation regarding the guidelines by the United States Attomey's Olfice or by my



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atlorney is speculative and is not binding upon the Court, the Probation Olfice or the United
States Attomey's Office. No guarantee has been made by anyone regarding the effect of
the guidelines on my case.

       I understand the prosecution will be lree to allocute or describe the nature ol this
ol-fense and the evidence in this case and make any recommendations not prohibited by
this agreement.

       I understand the United States retains the right. notwithstanding any provision in
this plea agreement. to inlorm the Probation O{fice and the Court of all relevant facts, to
address the Court with respect to the nature and seriousness of the offense(s), to respond
to any questions raised by the Court, to correct any inaccuracies or inadequacies in the
presentence report and to respond to any statements made to the Court by or on behalf of
the delendant.

       I willingly stipulate there is a sufficient factual basis to support each and every
material factual allegation contained within the charging document(s) to which I am
pleading guilty.

        I understand this agreement does not apply to any crimes or charges not addressed
in this agreement. I understand ifl should testiff falsely in this or in a related proceeding
I may be prosecuted for perj ury and statements I may have given authorities pursuant to
this agreement may be used against me in such a proceeding.

        I understand my atlorney will be free to argue any mitigating lactors on my behalf;
to the extent they are not inconsistent with the terms of this agreement. I understand I will
have an opportunity to personally address the Court prior to sentence being imposed.

        This writing sets fonh the entire understanding between the parties and constitutes
the complete plea agreement between the United States Attorney for the Western District
ol Virginia and me, and no other additional terms or agreements shall be entered except
and unless those other terms or agreements are in writing and signed by the parties. This
plea agreement supersedes all prior understandings, promises, agreements, or conditions.
if any, between the United States and me.

        I have consulted with my attorney and fully understand all my rights. I have read
this plea agreement and carefully reviewed every part of it with my attorney. I understand
this agreement and I voluntarily agree to     it.
                                                I have not been coerced, threatened, or
promised anything other than the terms of this plea agreement, described above, in



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exchange fbr my plea of guilty. Being aware ol all of the possible consequences of my
plea. I have independently decided to enter this plea of my own free will. and am atfirming
that agreement on this date and by my signatu below.

u,",t0'd'J3                                 Lvnn     dward ("Petie") Bowen II, Defendant

        I have tully explained all rights available to my client with respect to the offenses
listed in the pending charging document(s). I have carefully reviewed every part olthis
plea agreement with my client. To my knowledge, my client's decision to enter into this
agreement is an inlormed and voluntary one.

        Ill will continue to represent my client regarding the United States' efforts to collect
any monetary obligations, I wilt notify the United States Attomey's Office, ATTN:
Financial Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24008-1709, in writing, of
the fact ol my continued legal representation within l0 days of the entry ofjudgment in
this case.


Date:   /o-t-soc-s                             cv          en  n-Vicars, Esq.
                                                                                             4?lfr
                                            Couns        or Defendant



Date:    to3_2n2+
                                            Le    L. Bus cr
                                              sistant United States Attornev
                                            Virginia Bar No. 82353




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